                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 MARTA McCLANAHAN and                               )
 JESSICA STINSON,                                   )
                                                    )
         Plaintiff,                                 )
                                                    )    NO. 3:19-cv-00163
 v.                                                 )
                                                    )
 MEDICREDIT, INC.,                                  )
                                                    )
         Defendant.                                 )

                                              ORDER

        A telephone status conference was held on February 5, 2021. For the reasons stated, the

pretrial conference scheduled for February 8, 2021 is CONTINUED to April 12, 2021, at 9:00

a.m. All lawyers who will participate in the trial must attend the pretrial conference.           The

parties shall submit a revised joint pretrial order reserving Jessica Stinson’s attorney’s fees by noon

on February 11, 2021.

        IT IS SO ORDERED.


                                                        ____________________________________
                                                        WAVERLY D. CRENSHAW, JR.
                                                        CHIEF UNITED STATES DISTRICT JUDGE




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